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                                   UNITED STATES DISTRICT COURT
                                  CENTRAL DISTRICT OF CALIFORNIA

                                          CIVIL MINUTES - GENERAL
 Case No.          EDCV 17-965-GW(DTBx)                                          Date      July 2, 2018
 Title             Vanguard Medical Management Billing, Inc., et al. v. Christine Baker, et al.




 Present: The Honorable           GEORGE H. WU, UNITED STATES DISTRICT JUDGE
                Javier Gonzalez                          Katie Thibodeaux
                 Deputy Clerk                        Court Reporter / Recorder                   Tape No.
                Attorneys Present for Plaintiffs:                   Attorneys Present for Defendants:
                       M. Cris Armenta                                       Amie L. Medley
 PROCEEDINGS:                 DEFENDANTS’ MOTION TO DISMISS CERTAIN CLAIMS IN
                              SECOND AMENDED COMPLAINT [97]


Court and counsel confer. The Tentative circulated and attached hereto, is adopted as the Court’s Final
Ruling. The Court would DISMISS Plaintiffs' first and second claims for relief WITH PREJUDICE. As
to the third claim for relief, the Court would DISMISS that claim WITHOUT PREJUDICE. As to the
fifth claim for relief, the Court would DECLINE TO RULE at this time.

A status conference is set for August 16, 2018 at 8:30 a.m., with a joint status report to be filed by
August 13, 2018.




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                                                               Initials of Preparer   JG
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   Vanguard Medical Management Billing, Inc., et al v. Baker, et. al (CV 17-00965-GW-(DTBx))
   Tentative Ruling on Motion to Dismiss Certain Claims in the Second Amended Complaint



   I. Background
          A. Procedural History
          On May 17, 2018, Plaintiffs David Goodrich, as Chapter 11 Trustee (“Goodrich”);
   Vanguard Medical Management Billing, Inc. (“Vanguard”); One Stop Multi-Specialty Medical
   Group, Inc., a California corporation (“OSM”); One Stop Multi-Specialty Medical Group &
   Therapy, Inc., a California corporation (“OST”); Nor Cal Pain Management Medical Group, Inc.,
   a California corporation (“Nor Cal”); Mesa Pharmacy, Inc. (“Mesa”), a California corporation
   (“Mesa”); and Eduardo Anguizola, M.D. (“Anguizola,” and, together with Goodrich, Vanguard,
   OSM, OST, Nor Cal, and Mesa: “Plaintiffs”) filed the Second Amended Complaint (“SAC”),
   suing Defendants Christine Baker (“Baker”), in her official capacity as Director of the California
   Department of Industrial Relations; Andrew Schoorl (“Schoorl”), in his official capacity as
   Acting Director of the California Department of Industrial Relations (“DIR”); and George
   Parisotto, in his official capacity as Acting Administrative Director of the California Division of
   Workers’ Compensation (“Parisotto,” and, together with Does 1 through 10, Baker, and Schoorl:
   “Defendants”) in this putative civil rights lawsuit. See generally SAC, Docket No. 96. The SAC
   contains six causes of action for: (1) a facial violation of the right to counsel (Sixth and
   Fourteenth Amendments); (2) an as-applied violation of the right to counsel (Sixth and
   Fourteenth Amendments); (3) a violation of the Contract Clause; (4) a facial violation of due
   process (Fifth and Fourteenth Amendments); and (5) an as-applied violation of due process
   (Fifth and Fourteenth Amendments). See id. Plaintiffs, save for Mesa, had filed the original
   Complaint on May 17, 2017, which was brought as “a facial challenge to the constitutionality of
   California Labor Code § 4615 . . . .” See generally Complaint (“Compl.”) ¶ 1, Docket No. 1.
          Plaintiffs had initially filed a Motion for a Preliminary Injunction (“MPI”) to bar
   enforcement of Section 4615 on May 19, 2017. See MPI, Docket No. 13. Plaintiffs’ MPI asked
   the Court to enjoin enforcement of Section 4615 base upon the alleged violations of five distinct
   constitutional grounds: (1) the Sixth Amendment Right to Counsel, (2) the Contract Clause, (3)
   Substantive Due Process, (4) “Procedural” Due Process, and (5) the Supremacy Clause. See
   generally MPI. The Court heard oral argument on the MPI on July 13, 2017, and issued a

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   “Tentative Ruling.” See Civil Minutes July 13, 2017 (“July 13, 2017 Order”), Docket No. 40. In
   that Ruling/Order, the Court indicated that it was inclined to deny the Motion with respect to
   four of the five claims asserted, including Plaintiffs’ challenges brought under: (1) the Sixth
   Amendment Right to Counsel, (2) the Contract Clause, (3) Substantive Due Process, and (4) the
   Supremacy Clause. See July 13, 2017 Order at 14 (Sixth Amendment), 19 (Contract Clause), 21
   (Substantive Due Process), 28 (Supremacy Clause).
          The Court also indicated that it was inclined to grant Plaintiffs’ MPI on “procedural due
   process” grounds, unless Defendants could demonstrate that “the Statute provides a charged lien
   holder with an opportunity to be heard to challenge Section 4615’s application to his or liens.”
   See July 13, 2017 Order at 26. At oral argument Defense Counsel was unable to explain whether
   or not Section 4615 provides such an opportunity so the Court permitted Defendants to submit
   additional briefing and evidence on this issue. The Court also permitted Plaintiffs to submit
   additional briefing on an alternative substantive due process challenge not argued in their initial
   moving papers: i.e. that Section 4615 interferes with Plaintiffs’ fundamental right of Access to
   the Courts.
          On October 19, 2017, the Court ultimately granted Plaintiffs’ MPI in part on the
   procedural due process ground only. See Civil Minutes October 19, 2017 (“October 19, 2017
   Order”), Docket No. 64. Then, on December 22, 2017, the Court ordered that Defendants − their
   agents, employees, and all others acting in active concert or participating with them − were
   enjoined and restrained as follows:
                  1)      The name of any medical provider or lien claimant whose liens
          have been identified by Defendants as subject to the stay mandated by California
          Labor Code Section 4615(a) shall be included on the public list posted on the
          Department of Industrial Relations website pursuant to Labor Code Section
          4615(b). Defendants may comply with the order by maintaining the current (and
          updated as necessary) list of criminally charged providers, currently available at:
          https://www.dir.ca.gov/Fraud_Prevention/List-of-Criminally-Charged-
          Providers.pdf, and posting an additional list of other lien claimants believed to
          have filed liens on behalf of changed providers and whose liens may be subject to
          the stay. The additional list as ordered herein shall be posted on the website
          within three (3) working days after the date of entry of this Order, and shall be
          updated as necessary concurrently with any updates to the workers’ compensation
          Electronic Adjudication Management System (EAMS) identifying additional
          providers and lien claimants subject to the Section 4615 stay. The lists/website
          shall be accessible 24 hours a day.
                  2)      The processing and adjudication of any lien shall not be treated as

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          stayed pursuant to California Labor Code Section 4615(a) unless the lien claimant
          has been provided with notice via the lists posted on the Department of Industrial
          Relations website.
                  3)      Lien claimants shall be given the opportunity to be heard within
          any workers’ compensation case at a lien conference and/or lien trial, as
          appropriate under usual [Workers’ Compensation Appeals Board (“WCAB”)]
          adjudication procedures, if any dispute or question is raised or arises as to whether
          any lien at issue in the case falls within the provisions of Labor Code Section
          4615 such that a stay of the lien is required. The purpose of such hearings, if
          requested by lien claimants, shall be solely to prevent the erroneous application of
          Section 4615 by its own terms, and not for the purpose of allowing any challenge
          by a lien claimant to the propriety of the underlying criminal charges giving rise
          to the stay, or for the purpose of disputing whether a lien arises from the alleged
          conduct giving rise to the criminal charges.

   See December 22, 2017 Ruling (“December 22, 2017 Order”), Docket No. 81.
          On February 21, 2018, Plaintiffs filed a First Amended Complaint (“FAC”). See Docket
   No. 82. On March 15, 2018, Defendants filed a motion to dismiss the FAC. See Defendants’
   Memorandum of Points and Authorities in Support of Motion to Dismiss Certain Claims (“MTD
   FAC”), Docket No. 88-1. On the same day, Plaintiffs moved for an order holding Defendants in
   contempt or alternatively for reconsideration of the Court’s December 22, 2017 Order. See
   Plaintiffs’ Motion for Contempt, or, in the Alternative, for Reconsideration of the Court’s
   December 22, 2017 Order on Preliminary Injunction (Pls’ MFC”), Docket No. 86. As to the
   MTD FAC, on April 26, 2018, the Court dismissed Plaintiffs’ first, second, third, fourth and fifth
   claims (except for the facial procedural due process component of the fourth claim for relief),
   without prejudice. See generally April 26, 2018 Civil Minutes (“April 26, 2018 Order”), Docket
   No. 95. The Court dismissed Plaintiffs’ sixth and seventh claims (based in the Supremacy
   Clause and the Takings Clause) in the FAC with prejudice. See id. at 33. As to the Plaintiffs’
   MFC, the Court denied the motion because it did “not find clear and convincing evidence that
   Defendants are in contempt of the December 22, 2017 Order.” Id. at 16.
          Now before the Court is Defendants’ motion to dismiss the first, second, third, and fifth
   claims for relief in the SAC. See Memorandum of Points and Authorities in Support of Motion
   to Dismiss Certain Claims in SAC (“MTD” or “Motion”), Docket No. 97-1. Plaintiffs filed an
   opposition to the MTD. See Plaintiffs’ Opposition to the MTD (“Opp’n”), Docket No. 98.
   Defendants filed a reply in support of the MTD. See Reply in Support of the MTD (“MTD
   Reply”), Docket No. 99.

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           B. Background on Workers’ Compensation System and Medical Treatment Liens
           The following is a synopsis of California Workers’ Compensation laws, as delineated in
   Rassp & Herlick, California Workers’ Compensation Law § 1.03 (Lexis 2017) (“Rassp &
   Herlick”):
                   The California law provides for medical treatment, temporary disability
           indemnity, permanent disability indemnity, and death benefits . . . as a result of
           industrial injuries. Workers are assured of receiving these benefits because
           employers are required to secure the payment of benefits required by the
           Workers’ Compensation laws. An employer may be insured for this program or
           be self-insured by obtaining from the Director of the California Department of
           Industrial Relations a certificate for self-insurance [Lab. Code, § 3700] . . . . The
           workers’ compensation program was originally intended to be self-administered
           by employers or their insurers with a minimum of state government participation
           in the administration of the system. However, recent amendments to the code and
           to the rules have increased the state regulation of the workers’ compensation
           system and have made it a very tightly controlled program.

   As further stated:

                    Under the California plan, employers or their insurance carriers make the
           initial determination of the validity of a claim. Government enters the picture by
           requiring certain notices, by encouraging prompt action, by auditing claims
           handling procedures, and by providing for the resolution of disputed claims.
           Litigated cases are heard and determined by the Workers’ Compensation Appeals
           Board, which is one of California’s regularly constituted courts of law . . . .

   Id. at § 1.05.
           An informative overview of California’s workers’ compensation system, including liens,
   is also set forth in Angelotti Chiropractic, Inc. v. Baker, 791 F.3d 1075, 1078-79 (9th Cir. 2015),
   as follows:
                  Employers in California typically provide medical care and other services
           to employees for work-related injuries. See generally Cal. Lab.Code §§ 3600, et
           seq. An employer or its workers’ compensation insurer may choose to provide
           medical care to workers through the employer’s Medical Provider Network
           (“MPN”), 2 Witkin, Summ. Cal. Law, Work. Comp. § 262 (10th ed. 2005), its
           Health Care Organization (“HCO”), Cal. Lab.Code § 4600.3, or neither of these . .
           ..
                  In certain cases, an employer or its insurer might decline to provide
           medical treatment to an injured employee on the grounds that an injury is not
           work-related or the treatment is not medically necessary. An injured worker may
           then seek medical treatment on his or her own, and, if the injury is later deemed
           work-related and the treatment medically necessary, the employer is liable for the

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                 “reasonable expense” incurred in providing treatment . . . . Cal. Lab. Code §
                 4600(a), (f); 2 Witkin, Summ. Cal. Law, Work. Comp. § 264 . . . .
                          A provider of services − whether for medical treatment, ancillary services,
                 or medical-legal services − may not seek payment directly from the injured
                 worker. Id. § 3751(b).[1] Nor may a provider seek payment through the filing of
                 a civil action against the employer or its insurer. Vacanti v. State Comp. Ins.
                 Fund, 24 Cal.4th 800, 815, 102 Cal.Rptr.2d 562, 14 P.3d 234 (2001) (“[C]laims
                 seeking compensation for services rendered to an employee in connection with his
                 or her workers’ compensation claim fall under the exclusive jurisdiction of the
                 [Workers’ Compensation Appeals Board].”). Instead, these providers may seek
                 compensation by filing a lien in the injured employee’s workers’ compensation
                 case. See generally Rassp & Herlick, Cal. Workers’ Comp. Law ch. 17 (Lexis
                 2014). The filing of a lien entitles a provider to participate in the workers’
                 compensation proceeding in order to protect its interests. Id. § 17:111[5]. After
                 the underlying workers’ compensation case is adjudicated, a “lien conference” is
                 held to discuss the liens that have not already been resolved through settlement.
                 Id. § 17:113. Any issues not resolved at the lien conference will be set for a “lien
                 trial.” Id.
                          Whether a provider of medical or ancillary services obtains payment on its
                 lien depends on the result reached in the underlying case. These providers are
                 entitled to payment of their liens if the injured worker establishes that the injury
                 was work-related and that the medical treatment provided was “reasonably
                 required to cure or relieve the injured worker from the effects of his or her
                 injury.” Cal. Lab.Code § 4600; see also id. § 4903.

   See also Chorn v. Workers’ Compensation Appeals Bd., 245 Cal. App. 4th 1370, 1376-78
   (2016).
                 C. California Labor Code Section 4615
                 Enacted in 2016 and effective on January 1, 2017, California Labor Code Section 4615
   (“Section 4615,” or the “Statute”) marks a change in law with respect to the workers’
   compensation lien system. See Cal. Stats. 2016, c. 868 (S.B. 1160), § 7. AB 1422 amended
   Section 4615, effective January 1, 2018. Section 4615 now reads as follows:
                               (a) Upon the filing of criminal charges against a physician,
                       practitioner, or provider for any crime described in subparagraph (A) of
                       paragraph (1) of subdivision (a) of Section 139.21, the following shall
                       occur:

                                      (1) Any lien filed by, or on behalf of, the physician,
                                                               
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     Cal. Lab. Code § 3751(b) provides that: “If an employee has filed a claim form pursuant to Section 5401, a
   provider of medical services shall not, with actual knowledge that a claim is pending, collect money directly from
   the employee for services to cure or relieve the effects of the injury for which the claim form was filed, unless the
   medical provider has received written notice that liability for the injury has been rejected by the employer and the
   medical provider has provided a copy of this notice to the employee.”

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           practitioner, or provider or any entity controlled, as defined in
           paragraph (3) of subdivision (a) of Section 139.21, by the physician,
           practitioner, or provider for medical treatment services under Section
           4600 or medical-legal services under Section 4621, and any accrual of
           interest related to the lien, shall be automatically stayed.

                   (2) Except as provided in subdivisions (b) and (c), the stay
           shall be in effect from the time of the filing of the charges until the
           disposition of the criminal proceedings.

                   (b) Upon conviction, as defined in paragraph (4) of subdivision
           (a) of Section 139.21, of the physician, practitioner, or provider for any
           crime described in subparagraph (A) of paragraph (1) of subdivision (a)
           of Section 139.21, the automatic stay shall remain in effect for any
           liens not dismissed pursuant to paragraph (1) of subdivision (e) of
           Section 139.21 until the commencement of lien consolidation
           procedures under paragraph (2) of subdivision (e) of Section 139.21.

                   (c) The automatic stay required by this section shall not
           preclude a physician, practitioner, or provider from requesting the
           dismissal with prejudice and forfeiture of sums claimed therein of any
           liens subject to the stay. Upon the receipt of that request and for good
           cause shown, the chief judge of the Division of Workers Compensation
           or his or her designee may lift the stay as to one or more of those liens
           and order that they be dismissed with prejudice.

                    (d) The administrative director shall promptly post on the
           division’s Internet Web site the names of any physician, practitioner, or
           provider of medical treatment services whose liens are stayed pursuant
           to this section.

                   (e) Notwithstanding this section, the filing of new or additional
           criminal charges against a physician, practitioner, or provider who has
           been suspended pursuant to subparagraph (A) of paragraph (1) of
           subdivision (a) of Section 139.21 shall not stay liens that are subject to
           consolidation and adjudication pursuant to subdivisions (e) to (i),
           inclusive, of Section 139.21, unless a determination has been made
           pursuant to subdivision (i) of Section 139.21 that a lien did not arise
           from the conduct that subjected the physician, practitioner, or provider
           to suspension.

                 (f) The administrative director may adopt rules for the
           implementation of this section.

                  (g) Notwithstanding this section, the filing of new or additional
           criminal charges against a physician, practitioner, or provider who has

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                       been suspended pursuant to subparagraph (A) of paragraph (1) of
                       subdivision (a) of Section 139.21 shall not stay liens that are subject to
                       consolidation and adjudication pursuant to subdivisions (e) to (i),
                       inclusive, of Section 139.21, unless a determination has been made
                       pursuant to subdivision (i) of Section 139.21 that a lien did not arise
                       from the conduct that subjected the physician, practitioner, or provider
                       to suspension.

   Cal. Lab. Code § 4615 (effective Jan. 1, 2018).
                 D. Factual Allegations2
                                1. Section 4615 Allegations
                 The SAC makes a number of factual allegations related to Section 4615, described as
   background. SAC ¶¶ 29-40. More than 110 criminally charged providers and numerous other
   providers associated with those providers are unable to collect on their receivables, and Section
   4615 provides no right to a hearing. Id. ¶¶ 7, 10. Plaintiffs allege that the lien freeze came in
   through last minute amendments to placate insurance companies, demonstrating “out-of-session
   influence.” Id. ¶¶ 34-40. A vague reference to combating fraud was made when the Assembly
   voted on the bill on August 30, 2016 and it was also listed in legislative recitals. Id. ¶ 39. When
   the law took effect on January 1, 2017, providers, lien purchasers, and a bankruptcy trustee could
   not enforce contractual obligations to pay for previously approved treatments, including for
   treatments unrelated to alleged misconduct. Id. ¶ 40.
                                2. Plaintiff Vanguard
                 Plaintiff Vanguard purchased certain receivables related to treatment rendered to
   workers’ compensation patients. Id. ¶ 12. Vanguard purchased some of these receivables from
   medical providers charged with, but not convicted of, crimes related to medical fraud. Id.
   Vanguard has been unable to collect on those liens since Section 4615 went into effect. Id. Most
   of those liens represent insurers’ contractual agreements to pay for medical treatment given to
   California workers.                         Id.       On May 23, 2013, Vanguard purchased receivables from Proove
   Biosciences Incorporated, which included billings for diagnostic tests performed by medical
   providers. Id. ¶ 42. Among the providers who performed the tests, two were later charged with
   offenses related to medical fraud. Id. As a result, the liens Vanguard purchased, including those
   unrelated to any alleged misconduct, have been stayed indefinitely. Id.
                                3. Plaintiff Eduardo Anguizola, M.D.
                                                               
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       The SAC contains all of the factual allegations referenced in this section.

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           Plaintiff Anguizola lives and practices medicine in California. Id. ¶ 13. On June 14,
   2014, Anguizola was indicted on one count of insurance fraud. Id. The indictment expanded to
   149 felony counts, but those counts were dismissed on June 28, 2016. Id. Following that, the
   Orange County District Attorney filed 80 counts against Anguizola and others. Id. Though
   Anguizola has not pleaded guilty or has had a preliminary hearing, all lien debt owed to him has
   been frozen. Id. Anguizola’s financial situation is dire, and he cannot afford to hire counsel of
   his choice to mount a defense to the charges. Id. Anguizola does not have financial assets (such
   as bank accounts or investment accounts) or other property sufficient to pay for the counsel of
   his choice if his liens remain frozen. Id. ¶ 59. The cost of his defense is estimated at a minimum
   of $250,000-$300,000, plus other fees and costs. Id. 13. Anguizola “must plead to what appear
   to be meritless charges . . . .” Id.
                   4. Plaintiff David Goodrich
           Entities who purchase these liens under contract cannot enforce their contractual rights.
   Id. ¶ 8. At least one United States Bankruptcy Court appointed trustee, Goodrich, is impaired
   from collecting on receivables owed to debtor Allied Medical Management, Inc. Id. ¶¶ 9-11.
   Goodrich is a Chapter 11 trustee in a Chapter 11 case involving a debtor alleging a contractual
   right to collect on workers’ compensation liens arising out of professional services rendered by
   Anguizola’s medical groups (OSM, OST, and Nor Cal) and others. Id. ¶ 43. Prior to enacting
   Section 4615, the Allied Estate collected approximately $100,000 per month, and now
   collections have dropped to below $30,000 per month. Id.
                   5. Plaintiffs OSM, OST, and Nor Cal
           Plaintiffs OSM, OST, and Nor Cal are health care providers operating as billing entities
   for Anguizola and others. Id. ¶¶ 14-16. They have filed workers’ compensation liens related to
   Anguizola’s and others’ treatment. Id. As a result of Section 4615, all of their liens have been
   frozen, including those for treatment by doctors who have not been charged with wrongdoing.
   Id. Goodrich is pursuing these liens. Id.
                   6. Plaintiff Mesa
           Plaintiff Mesa is a California Corporation. Id. ¶ 17. Mesa is a full service retail
   pharmacy. Id. Though Mesa has not been charged with any criminal wrongdoing subjecting it
   to an automatic stay under Section 4615, Mesa’s liens have been stayed pursuant to an
   administrative flag issued by unknown individuals at the DIR. Id. WCAB has announced that it

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   has refused to conduct lien hearings involving flagged providers like Mesa until notification of
   DIR occurs. Id.
                   7. Trucare
           Trucare Pharmacy, Inc. (“Trucare”) is a specialty pharmacy. Id. ¶ 18. Trucare is not a
   plaintiff, but is the party in interest with respect to collection on certain liens. Id. Trucare has
   not been charged with criminal wrongdoing that would subject it to the automatic stay provision
   of Section 4615, but all of Trucare’s liens have been stayed pursuant to an administrative flag
   issued by individuals at the DIR. Id. This is not an adjudication or judicial determination that a
   particular lien filed by a lien claimant is subject to the stay. Id.
                   8. Defendants
           Defendants Schoorl is Acting Director of the DIR.               Id. ¶ 20.   His duties include
   coordinating and overseeing the department’s divisions, boards, and commissions, and ensuring
   enforcement of laws related to the DIR. Id. Defendant Parisotto is Administrative Director of
   the California Department of Workers’ Compensation.                    Id. ¶ 21.    His duties include
   promulgating notices, regulations and directives within the workers’ compensation system. Id.
   Defendant Baker is sued in her former capacity as Director of the DIR. Id. ¶ 19. Her duties
   included those now belonging to Schoorl. Id.
   II. Motion to Dismiss
           A. Legal Standard
           Under Rule 12(b)(6), a defendant may move to dismiss for failure to state a claim upon
   which relief can be granted. Fed. R. Civ. P. 12(b)(6). A complaint may be dismissed for failure
   to state a claim for one of two reasons: (1) lack of a cognizable legal theory; or (2) insufficient
   facts under a cognizable legal theory. Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007); see
   also Mendiondo v. Centinela Hosp. Med. Ctr., 521 F.3d 1097, 1104 (9th Cir. 2008) (“Dismissal
   under Rule 12(b)(6) is appropriate only where the complaint lacks a cognizable legal theory or
   sufficient facts to support a cognizable legal theory.”).
           In deciding a 12(b)(6) motion, a court “may generally consider only allegations contained
   in the pleadings, exhibits attached to the complaint, and matters properly subject to judicial
   notice.” Swartz v. KPMG LLP, 476 F.3d 756, 763 (9th Cir. 2007). The court must construe the
   complaint in the light most favorable to the plaintiff, accept all allegations of material fact as
   true, and draw all reasonable inferences from well-pleaded factual allegations. Gompper v.

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   VISX, Inc., 298 F.3d 893, 896 (9th Cir. 2002); Sprewell v. Golden State Warriors, 266 F.3d 979,
   988 (9th Cir.), amended on denial of reh’g, 275 F.3d 1187 (9th Cir. 2001); Cahill v. Liberty
   Mutual Ins. Co., 80 F.3d 336, 337-38 (9th Cir. 1996). The court is not required to accept as true
   legal conclusions couched as factual allegations. Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009).
   Where a plaintiff facing a 12(b)(6) motion has pleaded “factual content that allows the court to
   draw the reasonable inference that the defendant is liable for the misconduct alleged,” the motion
   should be denied. Id.; Sylvia Landfield Trust v. City of Los Angeles, 729 F.3d 1189, 1191 (9th
   Cir. 2013). But if “the well-pleaded facts do not permit the court to infer more than the mere
   possibility of misconduct, the complaint has alleged – but it has not show[n] . . . the pleader is
   entitled to relief.” Iqbal, 556 U.S. at 679 (citations omitted).
          B. Facial Challenge vs. “As Applied” Challenge
          Plaintiffs purport to challenge Section 4615 on its face. See FAC ¶ 1. The parties
   disagree on the proper standard for such challenges. In City of L.A. v. Patel, the Supreme Court
   described and affirmed the validity of facial challenges as follows:
                  A facial challenge is an attack on a statute itself as opposed to a particular
          application. While such challenges are the “most difficult . . . to mount
          successfully,” . . . the Court has never held that these claims cannot be brought
          under any otherwise enforceable provision of the Constitution . . . . Instead, the
          Court has allowed such challenges to proceed under a diverse array of
          constitutional provisions.

   135 S. Ct. 2443, 2449 (2015) (citations and quotations omitted).
          To succeed in a facial challenge to a statute “a plaintiff must establish that a ‘law is
   unconstitutional in all of its applications.’” Id. at 2451 quoting Washington State Grange v.
   Washington State Republican Party, 552 U.S. 442, 449 (2008). Because facial constitutional
   challenges “often rest on speculation,” they are disfavored. See, e.g., Jackson v. City and County
   of San Francisco, 746 F.3d 953, 962 (9th Cir. 2014) (citation omitted). Moreover, plaintiffs
   must meet a high bar to prevail on a facial challenge, as a facial challenge succeeds only “by
   ‘establish[ing] that no set of circumstances exists under which the Act would be valid, i.e., that
   the law is unconstitutional in all of its applications.” Washington State Grange, 552 U.S. at 449
   (quoting United States v. Salerno, 481 U.S. 739, 745 (1987)) (emphasis added); Morrison v.
   Peterson, 809 F.3d 1059, 1064 (9th Cir. 2015) (citation omitted). Thus, the fact that a statute
   “might operate unconstitutionally under some circumstances is not enough to render it invalid


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   against a facial challenge.” Patel, 135 S. Ct. at 2451. “When assessing whether a statute meets
   this standard, the Court . . . [considers] only applications of the statute in which it actually
   authorizes or prohibits conduct.” Id.3
                 However, the Court “neither want[s] nor need[s] to provide relief to nonparties when a
   narrower remedy will fully protect litigants,” and follows a “policy of avoiding unnecessary
   adjudication of constitutional issues[.]” United States v. Nat’l Treasury Emps. Union, 513 U.S.
   454, 478 (1995) (limiting relief to the parties before the Court in light of plaintiffs’ constitutional
   challenge to validity of statute). Thus, the Court may consider Plaintiffs’ facial challenge to
   Section 4615 only with respect to the parties in the instant action, i.e., as an as-applied challenge,
   under prevailing precedent. See, e.g., id.4
                 C. Analysis of Claims
                 Defendants move to dismiss in full the first, second, third, and fifth claims for relief. See
   MTD at 10. The Court will analyze these claims in turn.
                                1. First Claim for Relief – Facial Challenge under the Right to Counsel
                 Anguizola alleges that Section 4615 violates his Sixth Amendment right to counsel
   because, as a result of his medical fraud charges, the Statute has frozen all lien debt owed to any
   of his medical practices, rendering him incapable of retaining counsel in his defense. SAC ¶¶ 13,
   52-56. The first claim for relief is a facial, rather than as-applied, challenge. Id.
                 Defendants argue that Anguizola’s facial challenge to the Statute fails again because
   Plaintiffs do not proffer any allegations in the SAC that would make the claim survive in light of
                                                               
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    The Court also cited to Planned Parenthood of Southeastern Pa. v. Casey, 505 U. S. 833, 894 (1992), for the
   following observation: “[l]egislation is measured for consistency with the Constitution by its impact on those whose
   conduct it affects . . . . The proper focus of the constitutional inquiry is the group for whom the law is a restriction,
   not the group for whom the law is irrelevant.”
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     Here, to prevail on their facial challenge to Section 4615, Plaintiffs must show that staying all liens associated with
   an accused, irrespective of the lien’s relationship to the fraud alleged, violates the constitution. While the scope and
   character of liens associated with any given provider will inevitably vary in number and character, Plaintiffs’ facial
   challenge concerns only those accused providers who actually have liens frozen by the Statute. This is because the
   government action actually permitted by the Statute (i.e. the stay of a provider’s liens regardless of any connection
   between that lien and the crime alleged) is the focus of the inquiry. In other words, the fact the statute would have
   no effect on the constitutional rights of an uncharged provider, or a charged provider with no outstanding liens, will
   not necessarily save the statute from a facial challenge. See Patel, 135 S. Ct. at 2451. Similarly, just because a
   provider may exist whose only outstanding liens all stem from the actual criminal charges, a facial challenge is not
   defeated if his or her rights are not affected by the statute. Id. Presumably even without the statute, the state may
   stay or otherwise encumber liens directly at issue in the criminal proceedings through other means. If that is indeed
   the case, then under Patel, the statute’s effect on those liens is irrelevant to the Court’s analysis of Plaintiffs’ facial
   challenge. Id.


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   the Court’s April 26, 2018 Order. See MTD at 4-5. Furthermore, Defendants argue that the
   SAC has not added allegations demonstrating that the allegations pertaining to the negative
   economic effects of Section 4615 to Anguizola are typical of other charged providers. See id. at
   5. In response, Plaintiffs primarily rely on their interpretation of Luis v. United States, 136 S. Ct.
   1083 (2016). See Opp’n at 5-6. In making that argument, as they have done in prior rounds of
   briefing, Plaintiffs assert that Luis should be read to include the stay of liens-processing
   provisions at issue here. Plaintiffs also now argue that a pre-enforcement lien, prior to being
   frozen, has present, liquid value to the professional who provided the underlying service. See id.
   at 6.
           “[T]he Sixth Amendment guarantees a defendant the right to be represented by an
   otherwise qualified attorney whom that defendant can afford to hire.” Luis, 136 S. Ct. at 1089.
   This right is fundamental. Id.
           The Supreme Court initially explained the situation involved in Luis as follows:
                    A federal statute provides that a court may freeze before trial certain assets
           belonging to a criminal defendant accused of violations of federal health care or
           banking laws. See 18 U.S.C. §1345. Those assets include: (1) property “obtained
           as a result of” the crime, (2) property “traceable” to the crime, and (3) other
           “property of equivalent value.” §1345(a)(2). In this case, the Government has
           obtained a court order that freezes assets belonging to the third category of
           property, namely, property that is untainted by the crime, and that belongs fully to
           the defendant. That order, the defendant says, prevents her from paying her
           lawyer. She claims that insofar as it does so, it violates her Sixth Amendment
           “right . . . to have the Assistance of Counsel for [her] defence.”

   Id. at 1087. In Luis, the Supreme Court held that pretrial restraint of a criminal defendant’s
   untainted assets infringes on the Sixth Amendment where those assets are needed to retain
   counsel. Id. at 1096. Importantly, Luis involved an as-applied challenge to a single court order
   that froze assets that were, as a matter of undisputed fact: (1) unrelated to any criminal activity
   and (2) necessary in order for the defendant to retain the counsel of her choosing. Id. at 1088. In
   evaluating the constitutionality of the order the Court recognized that the seizure of the assets
   itself “does not, deny Luis’ right to be represented by a qualified attorney whom she chooses and
   can afford.” Id. at 1089. However, the order would still violate the Sixth amendment right to
   counsel if it “would undermine the value of that right by taking from Luis the ability to use the
   funds” needed to pay her chosen attorney. Id. The Court ultimately struck down the order on
   Sixth Amendment grounds. Id. at 1093.

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                 The thrust of the Court’s analysis focused on the so-called, “untainted” nature of the
   assets subject to the order. Id. 1090-91. In reversing the lower court’s order, the Court held, in
   part, that the state’s interest in the property – to ensure its punishment of choice through criminal
   fines – was outweighed by Luis’ right to use her untainted assets to the extent she needed them to
   select counsel of her choosing.5 Id. at 1093.
                 The Court distinguished the Luis case from Caplin & Drysdale, Chartered v. United
   States, 491 U.S. 617, 630 (1989) and United States v. Monsanto, 491 U.S. 600, 615 (1989) − in
   which it had rejected Sixth amendment challenges to criminal forfeiture laws − based on
   differences in the nature of the assets involved. See id. at 1089-90 (“In our view, however, the
   nature of the assets at issue here differs from the assets at issue in those earlier cases. And that
   distinction makes a difference.”) The Court observed that unlike in the case before them, the
   Court’s prior rulings had dealt only with seizure of property “tainted” with crime. Id. at 1090-
   1091; see also Caplin & Drysdale, 491 U.S. at 630; Monsanto, 491 U.S. at 615. The Court
   found this distinction was crucial because both Caplin & Drysdale and Monsanto placed great
   significance on the “tainted” nature of the assets in question. Luis, 136 S. Ct. at 1091-92; Caplin
   & Drysdale, 491 U.S. at 626-628.                               The Court noted that in those cases, it had borrowed
   principles from property law and found that: (1) the government gains a property interest in
   tainted assets at the time those assets are used for criminal purposes, and (2) the criminal
   defendant’s ownership interest in tainted assets was itself imperfect. Id. at 1092; see also Caplin
   & Drysdale, 491 U.S. at 619-620.
                 The Luis Court observed that assets tainted with criminal activity are decidedly different
   from the assets owned, “pure and simple” by Luis. Luis, 136 S. Ct. at 1090. In other words, the
   government’s interest in untainted assets was substantially less than in assets tainted by criminal
   activity. The takeaway from Luis, and its discussion of its prior precedent, is that: (1) the nature
   of the assets at issue, and the government’s interest in those assets are crucial in determining
   whether a pretrial restraint on property will undermine the Sixth Amendment, (2) the
   government’s interest − acquired through property law at the time of the crime − in tainted assets

                                                               
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     Justice Breyer’s plurality opinion cited two other rationales. Id. at 1093-94. He first discussed 19th century
   common law and historical practice whereby an accused’s chattels were not said to be possessed by the crown until
   after a conviction was entered. Id. Justice Breyer’s final rationale was that to allow seizure of untainted assets in
   the case at bar would provide the government with a wide reaching tool to use against criminal defendants accused
   of a wide-range of crimes. Id. at 1094-95. Such a development, if it were to occur would render a greater and
   greater class of criminal defendants indigent and in need of publicly funded counsel. Id.

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   generally outweighs a criminal defendant’s right to use those assets to obtain counsel, and (3) the
   government’s interest in untainted assets does not outweigh a criminal defendant’s right to use
   those funds to the extent they are required in order to pay for an attorney of his or her choosing.
   Id. at 1093. In short, pretrial restraint of tainted assets does not violate the Sixth Amendment;
   but restraint on untainted assets (owned free and clear by a criminal defendant) may. Id.
           Plaintiffs rely heavily on Luis, and in prior rounds of briefing argued that because Section
   4615 stays all liens associated with a charged provider, and not just those liens related to
   criminal activity, it restrains the same type of untainted assets at issue in Luis. FAC Opp’n at 4-
   6. Plaintiffs further contend that, like in Luis, Anguizola, and other charged providers are unable
   to afford counsel of their choosing as a result of the lien freeze. Id. Thus Plaintiffs argue, the
   Statute places a pretrial restraint on untainted assets that, under Luis, violates Plaintiffs’ Sixth
   Amendment right to counsel. Id.
           Plaintiffs’ legal theory is not without some superficial appeal. Like the court order in
   Luis, Section 4615 freezes assets (in this case liens representing services rendered) that may be
   “untainted” by fraud until the conclusion of criminal proceedings. Cal. Lab. Code § 4615. Also
   like Luis, staying all of Anguizola’s liens could, at least plausibly limit his ability to retain
   counsel. Additionally, nothing in Luis suggests its holding should be strictly limited to liquid
   assets in a bank account. See United States v. Stein, 541 F.3d 130, 157 (2nd Cir. 2008) (“In a
   nutshell, the Sixth Amendment protects against unjustified governmental interference with the
   right to defend oneself using whatever assets one has or might reasonably and lawfully obtain.”);
   see also U.S. v. One Residential Property, 733 F.Supp. 1382, 1386 (S.D. Cal. 1990) (applying
   Supreme Court’s criminal forfeiture jurisprudence to civil litigation). Finally, comments from
   the legislative record indicating that the lien freeze provision contained in Section 4615 was
   added late in the legislative process at the direct request of district attorneys is troubling, as is the
   fact the Statute freezes the liens only for the duration of the criminal proceeding. Cal. Lab. Code
   § 4615.
           On the other hand, there are significant factual differences in the nature of the assets
   seized in Luis, which were owned “pure and simple” by that defendant, and the liens at issue
   here, despite the fact both may be “untainted” by crime. As discussed above, understanding
   these differences is crucial to determine if the pretrial restraint imposed by Section 4615 violates
   the Sixth Amendment.

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          A workers’ compensation lien is a statutory creation of the state of California and heavily
   subject to regulation. See Angelloti, 791 F.3d at 1081 (“The right to workers’ compensation
   benefits is ‘wholly statutory.’”); see also id. at 1078-79 (describing statutory basis for worker’s
   compensation liens and procedures for enforcement); Cal. Lab. Code § 4903(b) (permitting the
   provision of liens for reasonable expenses for medical treatment to injured workers); Cal. Lab.
   Code § 4600(a), (f). The statutory origin of the liens at issue has several consequences. First, it
   means the state has a strong interest in the lien and in ensuring the conditions precedent to its
   enforcement are met. This interest predates and is unrelated to any criminal act a provider
   commits within the lien system but instead grows out of the state’s establishment and
   maintenance of the workers’ compensation system. The Court finds the stark difference in this
   regard − between the liens involved here and the assets in Luis − to be important.
          Second, almost by definition a lien is not owned “pure and simple” by an accused
   provider. See Cal. Lab. Code § 3600 (listing preconditions for collection on a lien). The lien is
   simply a statutory means by which the state helps ensure workers can access medical care. The
   provider, the state, and the worker treated, therefore have an interest in the liens frozen by the
   Statute. See Cal. Code Regs. Tit.8, § 10301(dd) (listing the parties capable of initiating a lien
   conference to resolve pending liens, including workers, the state, and certain lien holders); Cal.
   Code Regs. Tit. 8, § 10770.1 (a)(1) (allowing a lien claimant, who is also a “party” to initiate a
   lien conference). According to Plaintiffs, the SAC at least indirectly alleges that a lien “can be
   bought (like Vanguard did, see SAC ¶ 12), it can be sold (like the medical providers and
   practices that sold their liens to Vanguard did, see SAC ¶ 12), it can be assigned (see SAC ¶ 12),
   just like a traditionally liquid asset.” See Opp’n at 6. The Court concludes that Plaintiff’s
   argument is inapposite and directly contradicts the applicable statutory framework. California
   Labor Code § 4903.8 (“Section 4903.8”) limits who can receive payment on a lien as of January
   1, 2017. See Cal. Lab. Code § 4903.8(a)(1) (providing that “[a]ny order or award for payment of
   a lien filed pursuant to subdivision (b) of Section 4903 shall be made for payment only to the
   person who was entitled to payment for the expenses as provided in subdivision (b) of Section
   4903 at the time the expenses were incurred, who is the lien owner, and not to an assignee unless
   the person has ceased doing business in the capacity held at the time the expenses were incurred
   and has assigned all right, title, and interest in the remaining accounts receivable to the
   assignee.”). A different section of that same statute prohibits assignment of a lien unless the lien

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   owner “has ceased doing business in the capacity held at the time the expenses were incurred.”
   See id. § 4903.8(a)(4). The California Court of Appeal has reiterated that Section 4903.8’s effect
   “is to prohibit WCAB from ordering or awarding lien payments to anyone other than the medical
   provider who incurred the expense.” See Chorn v. Workers’ Comp. Appeals Bd., 245 Cal. App.
   4th 1370 (2016), as modified on denial of reh’g (Apr. 20, 2016), review denied (July 13, 2016).
   As such, a medical provider’s interest in a given lien is imperfect at best.
          For these reasons, the Court does not agree with Plaintiff’s argument that the line drawn
   in Luis between tainted and untainted assets, is determinative here. Indeed, Luis makes clear that
   the nature of the property, and the state’s interest therein is crucial to the Sixth Amendment
   analysis. See Luis, 136 S. Ct. at 1090; see also supra 12-13 (discussing Luis’ treatment of prior
   Supreme Court precedent). In short, a lien filed within the state’s already complicated regulatory
   framework is simply not the equivalent to money held, free and clear in a personal bank account.
   Additionally, Luis concerned a court order pertaining to single criminal defendant whose assets
   were seized pursuant to facially constitutional criminal forfeiture statutes.           Nonetheless,
   Plaintiffs ask this Court to strike down an entire piece of legislation because one accused medical
   provider potentially cannot afford an attorney.         The legal coherence of Plaintiffs’ Sixth
   Amendment claim, particularly when it is considered as a facial challenge is fragile at best, and
   the Court would dismiss that cause of action. Further, Luis involved an “as applied” challenge to
   a single court order freezing assets that, the record established were not connected to criminal
   activity, and necessary for the defendant to obtain counsel. Here, Plaintiffs bring a facial
   challenge, and must meet a higher burden than the defendant in Luis. See supra Section II.B
   (describing standard for As-Applied challenges).         To that end, Plaintiffs aver insufficient
   allegations that the economic effects of the Statute on Anguizola are in any way typical of the
   providers that the Statute affects generally. See generally SAC. Presumably, not every affected
   physician’s sole means of attaining counsel is through the enforcement of pending liens. The
   Court told Plaintiffs exactly this in the April 26, 2018 Order, yet Plaintiffs did not further address
   this issue in either the Opposition to this Motion or in the SAC. See April 26, 2018 Order; see
   generally Opposition; see generally SAC.
          For all these reasons, each of which would be sufficient, the Court would find that the
   first cause of action in the SAC (a facial challenge to Section 4615 based on the Sixth
   Amendment right to counsel) fails to state a claim on which relief can be granted.

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                                2.            Second Claim for Relief – As-Applied Challenge under the Right to
                                              Counsel

                 In the second claim for relief, Anguizola alleges an as-applied violation of his Sixth
   Amendment right to counsel. SAC ¶¶ 57-63. Defendants move to dismiss this claim, arguing
   that the nature of liens is an imperfect property interest falling outside of Luis. MTD at 12-13.
   In response, Plaintiffs again argue that Luis applies to the liens at issue. MTD Opp’n at 10-13.
                 The Court incorporates its Luis analysis as to the first claim for relief into this section.
   As already discussed, the Court does not consider the liens at issue herein to be the same as the
   “untainted” assets “that belong fully to the defendant” as in Luis. The Court thus finds that
   Plaintiffs’ second claim for relief fails.6
                                3. Third Claim for Relief – Contract Clause
                 In Plaintiffs’ third claim for relief, they allege that Section 4615 unconstitutionally
   impairs the obligations of contracts in violation of Plaintiff’s rights. SAC ¶¶ 64-67. Defendants
   move to dismiss that claim. MTD at 6.
                 The Contract Clause prohibits states from passing “[l]aw[s] impairing the Obligation of
   Contracts[.]” U.S. Const., art. I, § 10, cl. 1; see also, e.g., Southern California Gas Co. v. City of
   Santa Ana, 336 F.3d 885, 886-87 (9th Cir. 2003). In determining the constitutionality of a
   statutory provision under the Contract Clause, courts consider “whether the change in state law
   has ‘operated as a substantial impairment of a contractual relationship.’” Gen. Motors Corp. v.
   Romien, 503 U.S. 181, 186 (1992) (quoting Allied Structural Steel Co. v. Spannaus, 438 U.S.
   234, 244 (1978)) (emphasis added). That inquiry includes: (1) whether a contract exists as to the
   specific terms allegedly at issue; (2) whether a change in law impairs an obligation under the
   contract; and (3) whether the impairment is fairly characterized as substantial. See id.; see also
   RUI One Corp. v. City of Berkeley, 371 F.3d 1137, 1147 (9th Cir. 2004) (quoting Allied
   Structural Steel Co., 438 U.S. at 244); San Diego Police Officers’ Ass’n v. San Diego City
   Employees’ Retirement Sys., 358 F.3d 725, 736-37 (9th Cir. 2009) (citations omitted).
                 Generally speaking:
                        [T]he first inquiry must be whether the state law has, in fact, operated as a
                 substantial impairment of a contractual relationship. The severity of the

                                                               
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    Though the Court recognizes that Plaintiff has pleaded an additional allegation that Anguizola cannot afford to pay
   for counsel because of a lack of financial assets, that allegation does not cure the aforementioned Luis issue. See
   SAC ¶ 59.

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             impairment measures the height of the hurdle the state legislation must clear.
             Minimal alteration of contractual obligations may end the inquiry at its first stage.
             Severe impairment, on the other hand, will push the inquiry to a careful
             examination of the nature and purpose of the state legislation.

   Allied Structural Steel Co., 438 U.S. at 244-45. “The severity of the impairment” increases “the
   level of scrutiny to which the legislation will be subjected,” although “[t]otal destruction of
   contractual expectations is not necessary for a finding of substantial impairment,” and “state
   regulation that restricts a party to gains it reasonably expected from the contract does not
   necessarily constitute a substantial impairment.” See Energy Reserves Group, Inc. v. Kansas
   Power & Light Co., 459 U.S. 400, 411 (1983) (citations omitted). Moreover, in ruling on the
   substantiality of any discernable impairment of contractual obligations imposed by the
   challenged statute, the court should “consider whether the industry the complaining party has
   entered has been regulated in the past.” Id. (citing Allied Structural Steel Co., 438 U.S. at 242
   n.13). If the court determines that a change in state law works to the “substantial impairment of
   a contractual relationship,” see Gen. Motors Corp., 503 U.S. at 186, the court addresses whether
   “the State’s police power permits the impairment because it is ‘reasonable and necessary to serve
   an important purpose,’” California Hosp. Ass’n v. Maxwell-Jolly, 776 F. Supp. 3d 1129, 1141
   (E.D. Cal. 2011) (quoting State of Nevada Emps. Ass’n v. Keating, 903 F.2d 1223, 1226 (9th Cir.
   1990)).
             Similarly, the Contract Clause of the California Constitution provides that “law[s]
   impairing the obligation of contracts may not be passed.” Cal. Const. art. 1, § 9. Courts
   adjudicate California Contract Clause claims under the same standard as the federal Contract
   Clause. See, e.g., Campanelli v. Allstate Life Ins., 322 F.3d 1086, 1097 (9th Cir. 2003) (“The
   California Supreme Court uses the federal Contract Clause analysis for determining whether a
   statute violates the parallel provision of the California Constitution.”) (citing Calfarm Ins. Co. v.
   Deukmejian, 771 P.2d 1247, 1262-63 (Cal. 1989) (en banc)); Retired Emps. Ass’n of Orange
   County, Inc. v. County of Orange, 610 F.3d 1099, 1102 (9th Cir. 2010); De Zewart v. Victorville
   Water Dist., No. CV 12-03087-MWF (SPx), 2012 WL 12887750, at *2 (C.D. Cal. Nov. 26,
   2012). For the purpose of this analysis, the Court follows the previously elucidated federal
   standard.
             Plaintiffs do not allege that Section 4615 violates the Contract Clause “in all of its
   applications.” Morrison v. Peterson, 809 F.3d 1059, 1064 (9th Cir. 2015) (citation omitted).

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   Instead, Plaintiffs allege that “Section 4615 unconstitutionally impairs the obligation of contracts
   in violation of Plaintiffs’ rights . . . .” SAC ¶ 65. Plaintiffs also aver that “[e]ntities or third
   parties who purchased receivables for good value under valid contracts” now cannot “enforce[e]
   their contractual rights, violating the Contract Clause of the United States Constitution and the
   California Constitution.”7 Id. ¶ 8. Section 4615 “obliterates the vested contractual rights of both
   the medical providers who are legally entitled to payment and the purchasers of receivables, all
   in violation of the Contract Clause.” Id. ¶ 33. Plaintiffs assert that on May 23, 2013 Vanguard
   purchased receivables from Proove Biosciences Incorporated, which now cannot be collected
   due to Section 4615, and that the Allied Estate (and now the Allied Trustee) cannot collect on
   workers’ compensation liens. Id. ¶¶ 42-43. Plaintiffs claim that Vanguard is an assignee of
   certain liens originated by Trucare Pharmacy and is a purchaser of other liens originated by
   Trucare Pharmacy. Id. ¶ 12. They specify that Trucare’s liens have been frozen as a result of
   Section 4615. Id. ¶ 18.
                 The Ninth Circuit has made clear that, to prevail on a Contract Clause, claim a plaintiff
   must establish: “(1) whether a contract exists as to the specific terms allegedly at issue, (2)
   whether the law in question impairs an obligation under that contract and (3) whether the
   discerned impairment can fairly be characterized as substantial.” See San Diego Police Officers’
   Ass’n v. San Diego City Employees’ Ret. Sys., 568 F.3d 725, 736-37 (9th Cir. 2009). As the SAC
   currently stands, Plaintiffs again fail to state a claim under the Contract Clause.
                 Though the SAC now alleges the existence of a contractual relationship between
   Vanguard as the purchaser of liens and the medical providers from whom Vanguard purchased
   those liens (see SAC ¶¶ 12, 18, 33, 42-43), the SAC fails to aver facts that show that: (1) the
   contracts between Vanguard and the medical providers contain provisions regarding the specific
   workers’ compensation terms allegedly at issue by the enactment of Section 4615; (2) Section
   4615 impairs an obligation under those contracts; and/or (3) that any discerned impairment is
   substantial.
                 As discussed in Section II.C.1, supra, a workers’ compensation lien is a statutory creation
   bearing many constraints and cannot be considered (or treated) as a simple property right. As
   observed by the Ninth Circuit in Angelotti Chiropractic:
                 [W]orkers’ compensation liens are not property interests protected by the Takings
                                                               
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       However, this Court would note that Section 4615 only imposes a stay and not an absolute bar on the liens.

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          Clause. First, the right to workers’ compensation benefits is “wholly statutory,”
          and such rights are not vested until they are “reduced to final judgment.” Graczyk
          v. Workers' Comp. Appeals Bd., 184 Cal. App. 3d 997, 1006 (1986). * * * * Since
          an injured workers’[sic] right to benefits does not vest until final judgment, the
          same is true for the liens at issue here, which are derivative of the underlying
          workers’ compensation claim. See Perrillo v. Picco & Presley, 157 Cal. App. 4th
          914, 929 (2007) (noting that a lien claimant’s rights to medical-legal costs are
          “derivative” of the injured worker's rights). Medical and ancillary lienholders
          have the right to recover on the lien only upon a determination that the expense
          was “reasonably required to cure or relieve the injured worker from the effects of
          his or her injury.” Cal. Lab. Code § 4600.

   791 F.3d 1081-82. Thus, for example, such liens do not give the medical provider (or the
   purchaser of such lien) any right to demand payment from or to sue the injured employee, the
   employer or the employer’s workers’ compensation insurance carrier to recover on such liens.
   See Angelotti Chiropractic, 791 F.3d 1078-79; Vacanti v. State Comp. Ins. Fund, 24 Cal. 4th
   800, 815 (2001). As held by the California Supreme Court, “claims seeking compensation for
   services rendered to an employee in connection with his or her workers’ compensation claim fall
   under the exclusive jurisdiction of the WCAB.” Vacanti, 24 Cal. 4th 815. Indeed, that Court has
   also held that: “we have barred all claims based on ‘disputes over the delay or discontinuance of
   [workers’ compensation] benefits.’” Id.
          As to the first required showing of a Contracts Clause claim (i.e. that “a contract exists as
   to the specific terms allegedly at issue”), the United States Supreme Court has held that the
   passage of a statute making changes in the amounts of workers’ compensation benefits (which
   required employers to retroactively pay higher benefits) did not violate the Clause. See General
   Motors Corp., 503 U.S. at 187-90. In doing so, the Court observed that:
          [T]he contracting parties here in no way manifested assent to limiting disability
          payments in accordance with the 1981 law allowing coordination of benefits. The
          employment contracts at issue were formed before the 1981 law allowing
          coordination of benefits came into effect. Thus, there was no occasion for the
          parties to consider in bargaining the question raised here: whether an
          unanticipated reduction in benefits could later be restored after the “benefit
          period” had closed.

   Id. at 188. Additionally, the Court rejected the argument that controlling state law as to workers’
   compensation benefits are deemed to be incorporated into contracts dealing with that area. As
   stated by the Court:
          Contrary to petitioners’ suggestion, we have not held that all state regulations are

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                 implied terms of every contract entered into while they are effective, especially
                 when the regulations themselves cannot be fairly interpreted to require such
                 incorporation. For the most part, state laws are implied into private contracts
                 regardless of the assent of the parties only when those laws affect the validity,
                 construction, and enforcement of contracts.

   Id. at 189.
                 In this case, Vanguard has not alleged that any of its lien purchasing contracts with any
   medical providers contain provisions which deal with the specific terms at issue with the passage
   of Section 4615 (e.g. the staying of the processing of liens of medical providers who are
   criminally charged with fraud or abuse related to the provision of medical treatment). Likewise,
   there is no factual allegation that Section 4615 affects the validity, construction, and enforcement
   of such contracts.8 Thus, Vanguard has not averred the first element.
                 As to second factor (i.e. whether Section 4615 impairs an obligation under the contract),
   while it is clear that Section 4615 affects the processing of liens before the WCAB, Vanguard
   has not articulated exactly how its contracts with medical providers are impaired by the passage
   of Section 4615. As delineated above, Vanguard has merely purchased a lien in a “very tightly
   controlled program” (see Rassp & Herlick, § 1.03). Even before the passage of Section 4615, a
   medical provider (and concomitantly any purchaser of the provider’s interests) could not recover
   on a lien until a determination was made that the expense was “reasonably required.” The fact
   that Section 4615 stays the processing of a lien while the medical provider is prosecuted for
   related criminal conduct does not establish that Section 4615 is the source of any impairment, as

                                                               
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       As decided by the Court in Gen. Motors Corp., 503 U.S. at 190:

                           The 1987 statute did not change the legal enforceability of the employment contracts
                 here. The parties still have the same ability to enforce the bargained-for terms of the employment
                 contracts that they did before the 1987 statute was enacted. Moreover, petitioners’ suggestion that
                 we should read every workplace regulation into the private contractual arrangements of employers
                 and employees would expand the definition of contract so far that the constitutional provision
                 would lose its anchoring purpose, i.e., “enabling individuals to order their personal and business
                 affairs according to their particular needs and interests.” Allied Structural Steel, 438 U.S. at 245.
                 Instead, the Clause would protect against all changes in legislation, regardless of the effect of
                 those changes on bargained-for agreements. The employment contract, in petitioners’ view, could
                 incorporate workplace safety regulations, employment tax obligations, and laws prohibiting
                 workplace discrimination, even if these laws are not intended to affect private contracts and are
                 not subject to bargaining between the employer and employees. Moreover, petitioners’
                 construction would severely limit the ability of state legislatures to amend their regulatory
                 legislation. Amendments could not take effect until all existing contracts expired, and parties
                 could evade regulation by entering into long-term contracts.


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   opposed to the medical provider’s being criminally prosecuted.9
                 As to the third factor (i.e. that the discerned impairment is substantial), even if Section
   4615 is viewed as an impairment, purchasers of workers’ compensation liens could not
   reasonably expect those liens to be easily collectible and/or free from further regulation or
   legislation. See Cal. Lab. Code §§ 3600, 4600 (listing preconditions for collection on a lien).
   Clearly, the industry Plaintiffs have entered into – the medical service field in the workers’
   compensation context – “has been regulated in the past,” thereby subjecting Plaintiffs to a
   heightened burden with respect to the substantiality of any discernable impairment to existing
   contractual obligations. See Energy Reserves Group, Inc., 459 U.S. at 411. Section 4615
   provides for the automatic stay of liens filed by or on behalf of physicians or providers – who
   have been criminally charged with: (1) fraud or abuse of a Medicare, Medicaid or Medi-Cal
   program, (b) misconduct of the medical practice and/or (c) other related crimes – until the
   disposition of the criminal proceeding. See Section 4615. Considering stayed liens were already
   an imperfect asset – even before they were stayed – that one could not simply cash out at any
   given time, freezing these liens pending resolution of criminal charges against the provider does
   not constitute a substantial impairment of any contract such that Section 4615 would violate the
   Contract Clause.                       Indeed, “Plaintiffs respectfully submit that they have adequately alleged
   contractual impairment in violation of the Contract Clause.” See Opp’n at 8. They do not,
   however, argue that there was substantial impairment, which they must plead for their Contract
   Clause claim to survive. See Gen. Motors Corp., 503 U.S. at 186 (holding that the standard is
   “whether the change in state law has ‘operated as a substantial impairment of a contractual
   relationship.’”).
                 As such, the Court would dismiss Plaintiffs’ third claim for relief based in the Contract
   Clause. The Court would give Plaintiffs one last opportunity to make allegations that Section
   4615 substantially impairs existing contracts, despite the fact this area is heavily regulated,
   otherwise it will dismiss this claim with prejudice.10
                                4. Fifth Claim for Relief – Due Process As-Applied Challenge

                                                               
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     It is not uncommon for a defendant in a criminal case to request a stay of a related civil matter pending the
   conclusion of the criminal proceedings. See e.g. SEC v. CMKM Diamonds, Inc., 729 F.3d 1248 (9th Cir. 2013).
   10
      The SAC does not specify whether the Contract Clause claim for relief is pleaded as an as-applied or facial
   challenge. See SAC ¶¶ 64-67. If Plaintiffs file a third amended complaint, they should specify as much and proffer
   allegations satisfying Patel if they mount a facial challenge.

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           In the fifth claim for relief, Plaintiffs allege that Defendants violated Vanguard and
   Mesa’s Fifth and Fourteenth Amendment due process rights. SAC ¶¶ 73-77. More specifically,
   they allege that Mesa’s liens have been frozen, and that WCAB refuses hearings pending
   notification of the DIR of those hearings. Id. ¶ 17. Plaintiffs also allege that a “secret list” of
   lien claimants has been circulated to WCAB judges, directing them to apply the automatic stay to
   hundreds of uncharged individuals and entities. Id. ¶ 44. Plaintiffs further allege that there is no
   protocol, criteria, or procedure for placement on this list that is now published on the DIR’s
   website. Id.
           Defendants move to dismiss the fifth claim for relief on two grounds. MTD at 6-9. The
   first is that Plaintiffs violated Rule 15(d) of the Federal Rules of Civil Procedure (“Rule 15(d)”)
   by failing to seek leave before adding the cause of action. Id. at 6-7. The second is that
   Vanguard and Mesa have not sufficiently alleged a procedural due process claim. Id. at 7-8.
   Because this Court finds the first ground to be valid, it will not address the second contention at
   this time.
           Defendants previously argued that the FAC added two parties to the mix, Mesa and
   Trucare, who assert a new as-applied cause of action based in procedural due process violations.
   MTD FAC at 19. They argued that a supplemental pleading must be filed to add parties, and that
   without leave of court, Plaintiffs cannot add a distinct cause of action based on facts occurring
   since the original complaint was filed. Id.
           The Federal Rules of Civil Procedure 15(d) states as follows:
                   (d) Supplemental Pleadings. On motion and reasonable notice, the court
           may, on just terms, permit a party to serve a supplemental pleading setting out any
           transaction, occurrence, or event that happened after the date of the pleading to be
           supplemented. The court may permit supplementation even though the original
           pleading is defective in stating a claim or defense. The court may order that the
           opposing party plead to the supplemental pleading within a specified time.

   Fed. R. Civ. P. 15(d). Pleadings “may be ‘supplemented’ where the pleader desires to set forth
   allegations concerning matters which have taken place since the original pleading was filed.”
   See O’Connell & Stevenson, RUTTER GROUP PRAC. GUIDE: FEDERAL CIV. PRO.
   BEFORE TRIAL, CALIF. & 9TH CIR. EDITIONS § 8:1377 (The Rutter Group 2017) (text
   cited in Eid v. Alaska Airlines, Inc., 621 F.3d 858, 874 (9th Cir. 2010)).
           It is undisputed that Plaintiffs added for the first time the now labeled fifth claim for


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   relief in the FAC, and Plaintiffs again include that cause of action in the SAC. Though the Court
   might ultimately grant a motion to permit Plaintiffs to file a supplemental pleading, the Court
   may only do so “[o]n motion and reasonable notice . . . .” Fed. R. Civ. P. 15(d).                          The Court
   previously dismissed the fifth claim for relief, noting that it “expect[ed] a potential motion to
   permit Plaintiffs to file a supplemental pleading in the future. After doing so, the Court can then
   consider the parties’ arguments as to whether a supplemental pleading is warranted in this case.”
   See Apr. 26, 2018 Order at 30. As Defendants point out, Plaintiff has failed to file a motion to
   file a supplemental pleading under Rule 15(d). See Docket. The SAC continues to maintain
   allegations related to procedural due process that would have necessarily occurred after the filing
   of the Complaint. SAC ¶¶ 45-48. The Court will wait to determine whether the allegations in
   the SAC are sufficient to state a procedural due process claim until either: (1) the parties
   stipulate11 to waiving the Rule 15(d) issue or (2) Plaintiffs file a motion for permission to file a
   supplemental pleading. If neither of these events have occurred within 14 days of this order,
   then the Court will not consider such allegations and will make a determination on whether the
   remaining allegations in the SAC sufficiently allege a procedural due process claim.
   IV. Conclusion
                 For the aforementioned reasons, as to Defendants’ motion to dismiss the SAC, the Court
   would DISMISS Plaintiffs’ first and second claims for relief WITH PREJUDICE. As to the
   third claim for relief, the Court would DISMISS that claim WITHOUT PREJUDICE. As to
   the fifth claim for relief, the Court would DECLINE TO RULE at this time.  
    




                                                               
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     Plaintiffs argue that “the parties directly met and conferred on this topic prior to Mesa Pharmacy being added and
   Defendants never objected to the issue at hand.” Opp’n at 9. Plaintiffs further assert that “[a]ll parties seem to agree
   that from a procedural perspective, [the addition of specific allegations post-dating the filing of the original
   Complaint] to the pleadings is permissible.” See id. If this is the case, a stipulation to that effect should not be
   difficult to obtain.


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